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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §             CRIMINAL NO. 6:06-CR-95-18
                                                 §
 BILLY SHAWN PARKER                              §


                            REPORT & RECOMMENDATION OF
                           UNITED STATES MAGISTRATE JUDGE

        On December 1, 2011, the Court conducted a hearing to consider the government’s petition

 to revoke the supervised release of Defendant Billy Shawn Parker. The government was represented

 by Jim Middletom, Assistant United States Attorney for the Eastern District of Texas, and Defendant

 was represented by Court appointed attorney Carlo D’Angelo.

        Defendant originally pled guilty to the offense of Possiossion with Intent to Distribute

 Methamphetamine, a Class C felony. The offense carried a statutory maximum imprisonment term

 of 20 years. The United States Sentencing Guideline range, based on a total offense level of 15 and

 a criminal history category of III, was 24 to 30 months. On October 11, 2007, District Judge Leonard

 Davis sentenced Defendant to 30 months imprisonment followed by 3 years supervised release

 subject to the standard conditions of release, plus special conditions to include access to any

 requested financial information and substance abuse testing and treatment. On January 27, 2009,

 Defendant completed the term of imprisonment and began the term of supervised release.

        Under the terms of supervised release, Defendant was required, in relevant part, to report to

 the probation officer and submit a written report within the first five days of each month. In its

 petition, the government alleges that Defendant violated his term of supervised release by failing to


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 submit a written report for the months of May, June and July 2011.

        If the Court finds by a preponderance of the evidence that Defendant violated the conditions

 of supervised release by failing to submit monthly reports for three months, Defendant will have

 committed a Grade C violation. U.S.S.G. § 7B1.1(a). The Court shall then revoke supervised

 release or extend the term of supervised release and/or modify the conditions of supervision.

 U.S.S.G. § 7B1.3(a)(2). Considering Defendant’s criminal history category of III, the Guideline

 imprisonment range for a Grade C violation is 5 to 11 months. U.S.S.G. 7B1.4(a).

        At the hearing, the parties indicated they had come to an agreement to resolve the petition

 whereby Defendant would plead true to the above-referenced allegations in the government’s

 petition. In exchange, the government agreed to recommend that Defendant serve 7 months

 imprisonment with no supervised release to follow.

        Pursuant to the Sentencing Reform Act of 1984, and the agreement of the parties, the Court

 RECOMMENDS that Defendant be committed to the custody of the Bureau of Prisons (“BOP”)

 for a term of imprisonment of 7 months, with no supervised release to follow.
               .
        Defendant has waived his right to object to the findings of the Magistrate Judge in this matter

 so the Court will present this Report and Recommendation to District Judge Leonard Davis for

 adoption immediately upon issuance.


               So ORDERED and SIGNED this 2nd day of December, 2011.




                                                ___________________________________
                                                           JOHN D. LOVE
                                                UNITED STATES MAGISTRATE JUDGE

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